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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-769V
                                        UNPUBLISHED


    YANIRIS GONZALEZ,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: August 26, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On May 23, 2019, Yaniris Gonzalez filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she sustained right shoulder injuries related to
vaccine administration (SIRVA) as a result of an influenza (flu) vaccine received on
October 20, 2016. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

        On August 24, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent determined that that Petitioner “satisfied the criteria set forth
in the revised Vaccine Injury Table and the Qualifications and Aids to Interpretation, which

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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afford petitioners a presumption of causation if onset of SIRVA occurs within forty-eight
hours after receipt of a seasonal flu vaccination and there is no apparent alternative
cause.” Id. at 4. Respondent also determined that Petitioner experienced the residual
effects of her SIRVA for more than six months. Id. Respondent concluded that Petitioner
“has satisfied all legal prerequisites for compensation under the Act.” Id. Respondent
further agrees that the scope of damages to be awarded is limited to Petitioner’s SIRVA
and its related sequelae only. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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